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                EXHIBIT 33
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     00001

 2                UNITED STATES DISTRICT COURT FOR THE
 3                   SOUTHERN DISTRICT OF NEW YORK
 4
 5       Case No. 1:22-cv-10019 (JSR)
            - - - - - - - - - - - - - - - - - -X
 6       JANE DOE 1, Individually           :
            and on behalf of all others        :
 7       similarly situated,                :
                              Plaintiffs       :
 8                                          :
            VS                                 :
 9                                          :
            JPMORGAN CHASE BANK, N.A.,         :
10                         Defendant        :
            - - - - - - - - - - - - - - - - - -X
11       Case No. 1:22-cv-10904 (JSR)
            - - - - - - - - - - - - - - - - - -X
12       GOVERNMENT OF THE UNITED STATES    :
            VIRGIN ISLANDS                     :
13                         Plaintiffs       :
                                               :
14       VS                                 :
                                               :
15       JPMORGAN CHASE BANK, N.A.,         :
                              Defendant        :
16       - - - - - - - - - - - - - - - - - -X
17
                                    CONFIDENTIAL
18
19                        Videotaped deposition of
                        FRANCIS PEARN taken at the offices of
20                   Boies Schiller Flexner LLP, 55 Hudson
                        Yards, New York, New York 10001, before
21                   Clifford Edwards, Certified Shorthand
                        Reporter, and Notary Public in and for the
22                   State of New York, on March 29, 2023, at
                        9:47 a.m. EDT.
23
24
25



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 2             A     Yes.

 3             Q     What is the relationship between a

 4       background investigation and a DDR, a due

 5       diligence report?

 6             A     The due diligence report is completed

 7       at the time by the -- the banker responsible for

 8       the relationship, leverages information obtained

 9       through searches of those systems for changes in

10       the client from a negative media PEP OFAC

11       perspective.

12             Q     Would a due diligence report during

13       this period include all of the information that

14       was a part of the background investigation?

15             A     The background investigation was done

16       at client on-boarding and then ongoing monitoring

17       of systems for negative media, OFAC designation,

18       PEPs, was done as part of ongoing client

19       screening, client -- know your client.

20             Q     What does "know your client" refer to

21       in your answer?

22             A     The -- the formal process that we have

23       at the bank as part of our BSA/AML program.

24                   When clients are new to the bank and/or

25       changes in the products and services that the




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 2       clients are utilizing, that may trigger updates to

 3       the Know Your Customer record.

 4             Q     As part of the Know Your Customer

 5       process that you just described in this time

 6       period, did JPMorgan also look at internal

 7       JPMorgan records on its customers for private

 8       bank?

 9                        MR. BUTTS:     Objection to form.

10                        You may answer if you are able.

11             A     If it's an existing client or customer

12       of the bank, there would be records and they

13       would be looked at.

14       BY MR. ARNOLD:

15             Q     What would those internal records

16       include?

17             A     It would include the history of the

18       products and services used by that existing

19       client.    It would include any -- any information

20       that was identified as part of the ongoing

21       transaction monitoring, there would be a history,

22       record of that, and that would be generally what

23       was looked at.

24             Q     Is there anything else you can think of

25       that would have been looked at in terms of -- as




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 2             Q     Is that a written document?

 3             A     Yes.

 4             Q     Were clients who were assigned a high

 5       risk rating subject to annual Know Your Customer

 6       or KYC relationship reviews?

 7             A     Yes, they were.

 8             Q     What was involved in an annual Know

 9       Your Customer relationship review?

10             A     An update to the information that's

11       filed -- that's already included in the KYC file.

12       It will include searches for any change in status

13       of -- from an OFAC sanction perspective, it

14       will -- it will search for if they are now

15       considered a PEP, there will be the ongoing

16       negative media screening that is part of that.

17                   And then also a general documentation of

18       has there been any change in the customer's

19       activity with the client or their -- the nature of

20       their products and services used at the bank.

21             Q     What was the purpose of the annual KYC

22       relationship review?

23             A     It -- it's part of our procedures to

24       ensure that we are current in our understanding

25       of the client, the relationships they have with




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 2             A     Yes.

 3       BY MS. BOGGS:

 4             Q     If a customer has a crime related to a

 5       sexual offense against a minor, are they a higher

 6       risk for -- for human trafficking?

 7                          MR. BUTTS:   Objection to form.

 8                          And you may answer as a 30(b)(1)

 9                   witness.

10             A     Yes.

11       BY MS. BOGGS:

12             Q     If a customer is a registered sex

13       offender, are they a higher risk for human

14       trafficking?

15                          MR. BUTTS:   Same objections.

16             A     Yes.

17       BY MS. BOGGS:

18             Q     The second bucket is, "Demographic

19       links to online adult advertising and services."

20                   And this is the category that we talked

21       about before; right?

22             A     Yes, it is.

23             Q     The third bucket is, "Previous AML

24       history."

25                   This states, "Previous AML history,




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 2       while not necessarily HT-related, may be

 3       associated with an investigation related to

 4       suspicious activity, such as interstate,

 5       excessive, or structured cash activity."

 6                   Do you see that?

 7             A     Yes.

 8             Q     So does this mean if a consumer has a

 9       prior history of excessive or structured cash

10       activity that they would be a higher risk for

11       human trafficking?

12                          MR. BUTTS:   Same objections.

13             A     Yes.

14       BY MS. BOGGS:

15             Q     Other than the documents that you and I

16       have looked at today, have you seen any other

17       JPMorgan documents related to human trafficking?

18                          MR. BUTTS:   Objection.    Form.

19                          You may answer.

20             A     No.

21       BY MS. BOGGS:

22             Q     Other than William Langford and

23       Mr. DeLuca, are there any other individuals at

24       JPMorgan that would have more knowledge about the

25       human trafficking initiatives at JPMorgan?




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